 Case 2:10-md-02179-CJB-DPC Document 12440-12 Filed 03/03/14 Page 1 of 1




                      UNITED STATES DISTRICT COURT

                     EASTERN DISTRICT OF LOUISIANA



IN RE: OIL SPILL by the OIL RIG
                          * MDL NO. 2179
       "DEEPWATER HORIZON" in the
                          *
       GULF OF MEXICO, on * SECTION J
       APRIL 20, 2010     *
                          * JUDGE BARBIER
THIS PLEADING APPLIES TO: * MAGISTRATE JUDGE SHUSHAN
No. 12-311                *
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        PLAINTIFF CAMERON INTERNATIONAL CORPORATION'S
     MOTION FOR PARTIAL SUMMARY JUDGMENT ON ITS CLAIMS FOR
      BREACH OF CONTRACT, INDEMNITY, AND DEFENSE EXPENSES



                                EXHIBIT 10



                            FILED UNDER SEAL




                                                                    1151264v1
